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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
                       Plaintiff,              §
                                               §
VS.                                            §      Criminal No. 3:18-CR-006-D(40)
                                               §
FRANCISCO JACOBO MAESTAS,                      §
                                               §
                       Defendant.              §

                                    MEMORANDUM OPINION
                                        AND ORDER

       Defendant Francisco Jacobo Maestas (“Maestas”) has filed a May 18, 2018 motion for

revocation of detention order pending judicial proceedings, in which he seeks review of the

magistrate judge’s April 30, 2018 order that he be detained pending trial. Maestas’ motion appears

to assume, however, that there will be a second detention hearing. In his instant motion he makes

several references to evidence or witnesses that he will produce, and he expressly asks the court to

conduct a hearing.

       But the court’s review of the record developed before the magistrate judge is an appropriate

procedure to comply with its obligation to conduct de novo review of a detention order. See, e.g.,

United States v. Farguson, 721 F. Supp. 128, 129 n.1 (N.D. Tex. 1989) (Fitzwater, J.). When

conducting review of a detention order under 18 U.S.C. § 3145(b), the court retains the discretion

to hold or not to hold another hearing or to receive additional evidence. See United States v.

Anderson, 2014 WL 2764747, at *3 (N.D. Tex. July , 2014) (Fitzwater, C.J.) (citing United States

v. Dominguez, 783 F.2d 702, 708 n.8 (7th Cir. 1986);United States v. Shaker, 665 F. Supp. 698, 704

(N.D. Ind. 1987)). The court declines to convene a second detention hearing where, as here, no

showing has been made that such a hearing is warranted. Maestas must therefore file a motion based
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on the detention hearing conducted on April 30, 2018. Because he has not, the court denies without

prejudice his May 18, 2018 motion for revocation of detention order pending judicial proceedings.

       SO ORDERED.

       May 21, 2018.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             UNITED STATES DISTRICT JUDGE




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